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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,
                                                     No. 16 CR 622-1
           v.
                                                     Judge Manish S. Shah
ZACHARY BUCHTA



                                        RESTITUTION



Victim B        Blizzard Games              Amount: $65,000
                Christopher Fajardo
                Director of Security
                16215 Alton Parkway
                Irvine, California 92618.
                949-955-1380 ext 12186
                cfajardo@blizzard.com

Victim C        Riot Games                  Amount: $284,000
                Casey Wong
                12333 Olympic Blvd
                Los Angeles, CA 90064
                408-605-7689
                cwong@riotgames.com
